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NVEVINY

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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CASE NUMBER
Unites Srpres o& | | SANrERG) OU- 23 vNr
Vv.
Je serH MANGIAPANG, TA.
AFFIDAVIT RE
DEFENDANT(S). OUT-OF-DISTRICT WARRANT

The above-named defendant was charged by: “EN? SGTMENT
in the District of__DGLAWW RE

on S\liz\eq
at [Ja.m./O p.m. The offense was allegedly committed on or about
in violation of Title (8 U.S.C., Section(s) Ss 7
to wit: CoMs hi Gacy

A warrant for defendant’s arrest was issued by: ttow. Leow AYN P- STAR / US MAG Googe
Bond of $

was [] set /(J recommended.

Type of Bond:

Relevant document(s) on hand (attach):

] swear that the foregoing is true and correct to the best of my knowledge.

Sworn to before me, and subscribed in my presence on 5 | hn I Mb9 , by
ln IF EAM bt S , Deputy Clerk.
op, Ae ORB
Signature of AgenN“C/ Print Name of Agent
DAS. LECE Scie. Ageai?
Agency

Title

CR-S2 (05/98)

AFFIDAVIT RE OUT-OF-DISTRICT WARRANT
